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IN THE UNITED STATES COURT OF APPEALS

 FOR THE EIGHTH CIRCUIT


                                                                                                  CJ
Justin Riddle,                                                                                    (;)~
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 Plaintiff-Appellant,                                                                             -!?_,-::-;_
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v.                                                                             ::c
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 Omaha Public Schools,
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 Defendant-Appellee.

 Case No. 8:23-cv-00547-RFR-MDN



 On Appeal from the United States District Court

for the District of Nebraska



APPELLANT'S OPENING BRIEF



 This appeal arises from a proceeding so tainted by bias, factual carelessness, and

 disregard for the most vulnerable among us that it shocks the conscience and

 demands the strictest scrutiny from this Court. In a stark demonstration of the

 skewed and selective lens through which the district court viewed this case, the

 judge below completely erased the existence and needs of Appellant's 3-year-old

 non-verbal autistic child, who is at the very heart of this litigation and whose

 well-being depends on the outcome of these proceedings.



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Despite extensive evidence in the record documenting this child's specific

 disabilities, their enrollment in Omaha Public Schools since the age of 2, and the

school district's abject failure to meet their educational and developmental needs,

the district court's dismissal order contains not a single mention of this young

 student or the urgent stakes of this case for their future. Instead, the court offered

only a dismissive and inaccurate characterization of Appellant's family

circumstances, referring vaguely to his 'two graduated children and one in high

 school' while completely omitting the one child whose needs are most critical and

 whose voice most desperately needs to be heard.



 This shocking erasure of the most vulnerable stakeholder in this litigation is not

 some isolated oversight, but a telling symptom of the district court's profoundly

 flawed and biased approach to this case. It lays bare the hollowness of the court's

 rhetoric about 'liberally construing' Appellant's pro se pleadings and demonstrates a

 level of factual and moral carelessness that simply cannot be reconciled with the

 basic duties of a fair and impartial tribunal.



 JURISDICTIONAL STATEMENT



 The district court had jurisdiction over this civil rights action pursuant to 28 U.S.C.

 §§ 1331 and 1343, as it arises under the Constitution and laws of the United States,




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 including 42 U.S.C. § 1983. The district court entered a final order dismissing all of

 Plaintiff-Appellant's claims on April 19, 2024. Plaintiff-Appellant filed a timely

 notice of appeal on [DATE]. This Court has jurisdiction pursuant to 28 U.S.C. §

 1291.



TABLE OF AUTHORITIES



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OPENING CONSIDERATIONS



Statistics:



1. A study by the Federal Judicial Center found that in a sample of over 65,000

federal civil cases filed between 2012 and 2017, prose plaintiffs prevailed in only

1.6% of cases, compared to a 17.6% success rate for represented plaintiffs. (Source:

Federal Judicial Center, "Pro Se Case Management for Nonprisoner Civil

Litigation," 2020)



2. An analysis of employment discrimination cases in federal court from 1979 to

2006 revealed that prose plaintiffs lost their cases at a much higher rate (93%)

than represented plaintiffs (81%). (Source: Berger et al., "Summary Judgment

Benchmarks for Settling Employment Discrimination Lawsuits," Hofstra Labor &

Employment Law Journal, 2009)




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 3. A review of federal court cases from 2000 to 2007 found that in civil rights cases

 specifically, pro se plaintiffs were successful in only 4% of cases, compared to a 30%

 success rate for represented plaintiffs. (Source: Clermont & Schwab, "Employment

 Discrimination Plaintiffs in Federal Court: From Bad to Worse?" Harvard Law &

 Policy Review, 2009)



 Real-world examples:

 1. In the case of Jackson v. Bloomington Housing Authority, a prose plaintiffs civil

 rights complaint was dismissed for failing to plead sufficient facts, despite detailing

 a pattern of racial discrimination in housing assignments. The dismissal was

 affirmed on appeal, with the court emphasizing technical pleading deficiencies

 rather than the substance of the allegations. (Source: Jackson v. Bloomington

 Housing Authority, 7th Cir. 2019)



 2. In Iqbal v. Ashcroft, a Pakistani Muslim immigrant's pro se complaint alleging

 discriminatory treatment and abuse in detention was dismissed for failure to state a

 claim, setting a heightened pleading standard for civil rights cases that has been

 widely criticized as overly burdensome for prose litigants. (Source: Ashcroft v.

 Iqbal, U.S. Supreme Court, 2009)



 3. In the case of Myvett v. Williams, a pro se plaintiffs First Amendment retaliation

 complaint against his public employer was dismissed on summary judgment, with




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 the court discounting evidence of temporal proximity between protected speech and

 adverse actions that could have supported an inference of retaliatory motive.

 (Source: Myvett v. Williams, 9th Cir. 2016)



 These statistics and examples underscore the significant barriers prose plaintiffs

 face in successfully litigating civil rights claims, from heightened pleading

 standards to unequal access to legal resources and expertise. The dismissal rates

 and real-world cases illustrate a disturbing pattern of prose complaints being

 prematurely rejected based on technicalities, without adequate consideration of the

 merits or appropriate leniency afforded to unrepresented plaintiffs.



 Additionally, in my own previous experience with CharterWest Bank, even a spoiled

 document was ignored when a simple checkbox on a single page of a single

 document, was changed by the bank without my permission or notification: "this

 was started by Charter West, but was continued by the cfpb the department of

 banking and finance the FED reserve of KC the Attorney General the ombudsman

 the lower court and the appeals court, in that order. Every single tax funded agency

 and Safeguard was either incapable of reading, or conspired to harm a citizen,

 leaving only a perfectly documented exploitation by every party ... while

 representing myself, I've watched as every single Legal Professional used their

 training to take advantage of what they mistakenly saw was a weak target. This

 complete disregard for the law made it impossible for an average citizen to navigate



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 what should be an unbiased legal system. Both of my cases, I feel, have proven

 systematic abuse, making it clear to me that if you're not in the club, the law is not

just discretionary, it's irrelevant"



 It required a unanimous decision in the Nebraska Supreme Court after seven years

 of denials from the bank enabled by the District and Appeals Courts, as well as the

 State Court, and yet again, I face the same seemingly unexplainable lack of fairness

 and impartiality.



 Just like that case, this case does not merely ask for anyone to "take my word for

it", but simply look at the presented evidence without the preemptive idea of

 dismissal to make sure that as a Pro Se litigant, I "learn my lesson".



 Supreme Court No: S-22-0557

 Caption: Charter West Bank v. Riddle

 Trial Court: Douglas County District Court

 Trial Court No: CI18-7488



 STATEMENT OF ISSUES



 1. Whether the district court erred in dismissing Plaintiff-Appellant's 42 U.S.C. §

 1983 claims for municipal liability under Monell v. Department of Social Services,



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 436 U.S. 658 (1978), where the complaint alleged a plausible pattern of

 unconstitutional conduct by school officials to retaliate against and censor

 Plaintiff-Appellant's protected speech.



 2. Whether the district court erred in dismissing Plaintiff-Appellant's 42 U.S.C. §

 1983 conspiracy claim where the complaint alleged specific facts supporting

 coordination between school administrators and law enforcement to violate

 Plaintiff-Appellant's constitutional rights.



 3. Whether the district court erred by failing to construe Plaintiff-Appellant's pro se

 complaint liberally, applying an improperly stringent standard to its factual

 allegations, and disregarding critical evidence in the record.



 4. Whether the district court erred in dismissing for failure to plead a legally

 sufficient "pattern" without defining the requirement for that pleading standard.



 5. Whether the district court abused its discretion and violated due process through

 pervasive bias, factual errors, and disregard of evidence evincing an inability to

 review Plaintiff-Appellant's complaint impartially, requiring remand to a different

 judge.



 STATEMENT OF THE CASE



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 Plaintiff-Appellant Justin Riddle filed this civil rights action against

 Defendant-Appellee Omaha Public Schools ("OPS"), asserting claims under 42

 U.S.C. § 1983 for First Amendment retaliation, Fourteenth Amendment due process

 violations, and conspiracy to violate civil rights. The gravamen of the complaint is

 that OPS officials engaged in a campaign of censorship, intimidation, and

 retaliation against Mr. Riddle in response to his public criticism of OPS policies and

 practices, particularly regarding equity and inclusion initiatives.



 The complaint alleged that OPS officials repeatedly cut off Mr. Riddle's microphone

 when he attempted to voice his concerns at school board meetings, improperly

 ejected him from meetings, and conspired with law enforcement to conduct baseless

 investigations and home visits to deter his continued advocacy. The complaint

 further alleged that OPS sought a retaliatory and meritless protection order against

 Mr. Riddle without due process, and barred him from commenting on official social

 media pages, to prevent him from sharing his message.



 On January 10, 2024, OPS moved to dismiss the complaint pursuant to Fed. R. Civ.

 P. 12(b)(6). On April 18, 2024, Mr. Riddle filed a "Notice of Continued and Ongoing

 Damage" supported by video evidence of OPS's persistent content and viewpoint

 discrimination. On April 19, 2024, the district court entered an order granting

 OPS's motion to dismiss in its entirety. The court held that Mr. Riddle failed to



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 plausibly allege a policy, custom, or practice of unconstitutional conduct attributable

 to OPS, or any improper conspiracy between OPS and law enforcement. Later that

 day, the court entered judgment against Mr. Riddle and designated his notice of

 ongoing harm as "incomplete." This appeal follows.



 SUMMARY OF ARGUMENT



 The district court's dismissal of Mr. Riddle's complaint rests on an improperly

 restrictive reading of his factual allegations and disregard for substantial record

 evidence of unconstitutional conduct. Viewed through the appropriately liberal lens

 afforded prose pleadings, the complaint states plausible claims for municipal

 liability and conspiracy under 42 U.S.C. § 1983.



 The complaint alleged a clear pattern of retaliatory and discriminatory conduct by

 multiple OPS officials in response to Mr. Riddle's protected speech, including

 repeated acts of censorship at board meetings, abuse of disciplinary procedures, and

 the procurement of a baseless protection order without due process. The temporal

 proximity of these actions to Mr. Riddle's speech, combined with the breadth of

 officials involved and the consistent focus on silencing his particular viewpoint,

 supports a reasonable inference of an unconstitutional custom or practice ratified by

 OPS policymakers.




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 The district court erred by artificially compartmentalizing these allegations rather

 than viewing them in context as a cohesive narrative of misconduct. It further

 applied an improperly stringent standard to Mr. Riddle's pleading, demanding

 effectively conclusive proof of an unconstitutional policy at the outset of the case

 rather than allowing his substantial circumstantial evidence to proceed to discovery.

 And it completely ignored Mr. Riddle's notice of ongoing harm, which provided

 direct video evidence corroborating his allegations.



 The complaint also includes specific factual allegations supporting Mr. Riddle's

 conspiracy claim, including the evident coordination between school officials and

 law enforcement to conduct retaliatory home visits and investigations in an effort to

 intimidate and silence him. The district court improperly dismissed these

 allegations as conclusory while overlooking the clear factual basis provided in the

 complaint.



 More broadly, the district court's dismissal exemplifies the unequal treatment too

 often afforded pro se civil rights plaintiffs. The court's uncharitable and factually

 inconsistent parsing of the complaint, measured against its uncritical acceptance of

 OPS's blanket denials, reflects a troubling predisposition to clear its docket rather

 than provide a fair hearing on the merits. Its disregard for Mr. Riddle's notice of

 ongoing harm raises further red flags about the integrity of the process below.




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 This Court should reject such an outcome. The right to petition the government for

 redress of grievances and to express dissenting viewpoints on public affairs lies at

 the very core of the First Amendment. When state actors use the power of their

 office to systematically suppress and retaliate against disfavored speech, "the law

 demands recourse." De Jonge v. Oregon, 299 U.S. 353, 365 (1937). The courthouse

 doors must remain open to such claims, lest the constitution's promise of free

 expression and government accountability ring hollow.



 Properly viewed, Mr. Riddle's prose complaint clears the relatively low hurdle of

 Rule 12(b)(6) and is entitled to proceed to discovery. This Court should reverse the

 judgment below and remand for further proceedings on his substantial claims of

 municipal liability and conspiracy under§ 1983. Our most fundamental

 constitutional guarantees require nothing less.



 ARGUMENT



 I. The District Court Erred in Dismissing Mr. Riddle's § 1983 Municipal Liability

 Claim



 A. Legal Standard for Municipal Liability Under§ 1983




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 To state a claim for municipal liability under 42 U.S.C. § 1983, a plaintiff must

 allege (1) action pursuant to an official municipal policy or custom; and (2)

 deliberate indifference by the municipality to the risk of unconstitutional conduct.

 Monell v. Dep't of Soc. Servs., 436 U.S. 658, 690-91 (1978). At the pleading stage,

 these elements may be alleged through circumstantial evidence allowing a

 reasonable inference of an unconstitutional policy or custom. Doe ex rel. Doe v. Sch.

 Dist. of Norfolk, 340 F.3d 605, 614 (8th Cir. 2003). Allegations of a pattern of

 unconstitutional acts by municipal officials can support such an inference. Crawford

 v. Van Buren Cnty., 678 F.3d 666, 669 (8th Cir. 2012).



 B. Mr. Riddle Alleged a Plausible Pattern of Unconstitutional Acts by OPS Officials



 Viewed in the light most favorable to Mr. Riddle, the complaint alleges a clear

 pattern of retaliatory and discriminatory acts by OPS officials, including:



 - Repeatedly cutting off Mr. Riddle's microphone and ejecting him from board

 meetings when he tried to voice concerns about OPS equity policies (Compl. ,r,r 7-8);

 - Enforcing public comment restrictions in a content and viewpoint discriminatory

 manner to silence Mr. Riddle's particular message (Id. ,r 8);

 - Conspiring with law enforcement to conduct baseless investigations and

 intimidating home visits in response to Mr. Riddle's advocacy (Id. ,r,r 10, 15);




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 - Procuring a meritless protection order against Mr. Riddle without due process in

 an effort to stifle his speech (Id. ,r,r 18-19); and

 - Barring Mr. Riddle from commenting on official OPS social media pages to prevent

 him from spreading his views (Id. ,r 9).



 The close temporal proximity of these actions to Mr. Riddle's protected expression,

 combined with the number of officials involved and the consistent focus on chilling

 his speech, raises a reasonable inference of a custom or unwritten policy ratified by

 OPS policymakers. See Davison v. City of Minneapolis, 490 F.3d 648, 659-60 (8th

 Cir. 2007) (temporal proximity and alleged statements by officials supported

 inference of retaliatory motive attributable to city). The fact that OPS sought a

 baseless protection order and indemnified the official who procured it further

 supports an inference of official ratification. Cf. Pembaur v. City of Cincinnati, 475

 U.S. 469, 480 (1986) ("[I]t is plain that municipal liability may be imposed for a

 single decision by municipal policymakers.").



 C. The District Court Improperly Compartmentalized the Allegations and Ignored

 Key Evidence



 In dismissing Mr. Riddle's Monell claim, the district court committed two key

 errors. First, it viewed each alleged act in isolation rather than considering the

 complaint's allegations in context as a mutually reinforcing pattern of misconduct.




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 This improperly compartmentalized analysis obscured the larger picture of

 pervasive suppression of Mr. Riddle's speech by OPS actors and failed to credit the

 reasonable inferences of an unconstitutional policy that flow from the totality of the

 alleged circumstances. See Wilson v. City of Des Moines, 293 F.3d 447,451 (8th Cir.

 2002) (reversing Rule 12(b)(6) dismissal where district court "viewed the various

 allegations in isolation, rather than in the context of the complaint as a whole").



 Second, the district court entirely ignored the "Notice of Continued and Ongoing

 Damage" Mr. Riddle filed just one day before the dismissal order. This notice

 provided video evidence directly corroborating his allegations of systematic

 viewpoint discrimination by OPS and undermining the court's conclusion that he

 failed to plead an unconstitutional custom. The court's refusal to consider this

 highly relevant evidence, submitted in advance of its ruling, raises serious

 questions about the fairness of the proceedings below. Cf. Brooks v. Midwest Heart

 Grp., 655 F.3d 796, 800 (8th Cir. 2011) (reversible error to grant Rule 12(b)(6)

 motion without addressing plaintiffs' proposed amended complaint containing

 relevant factual allegations).



 D. Mr. Riddle's Allegations Exceed the Pleading Burden for Municipal Liability

 Claims




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 The district court demanded an improperly high level of specificity and proof from

 Mr. Riddle's complaint, effectively requiring him to definitively establish an

 unconstitutional policy at the outset of the case. This rigorous standard is

 inappropriate at the pleading stage, where a plaintiff need only allege facts

 supporting a reasonable inference of municipal liability to unlock the doors to

 discovery. See Swierkiewicz v. Sorema N. A., 534 U.S. 506, 512 (2002) (Rule 8's

 simplified pleading standard "relies on liberal discovery rules ... to define disputed

 facts and issues and to dispose of unmeritorious claims"). Mr. Riddle's extensive

 factual allegations, bolstered by video evidence of ongoing misconduct, more than

 suffice to nudge his Monell claim "across the line from conceivable to plausible." Bell

 Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). The district court erred by

 prematurely cutting off his claim based on an improperly demanding pleading

 standard.



 II. The District Court Erred in Dismissing Mr. Riddle's§ 1983 Conspiracy Claim



 A. Legal Standard for § 1983 Conspiracy Claims



 To state a § 1983 conspiracy claim, a plaintiff must allege (1) a conspiracy between

 state actors to deprive the plaintiff of a constitutional right; (2) an act in

 furtherance of the conspiracy; and (3) an actual deprivation of a constitutional right.

 Askew v. Millerd, 191 F.3d 953, 957 (8th Cir. 1999). A conspiracy may be pleaded




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 through circumstantial evidence and "factual allegations of a meeting of the minds."

 White v. McKinley, 519 F.3d 806, 816 (8th Cir. 2008). "[T]he plaintiff must allege

 with particularity and specifically demonstrate with material facts that the

 defendants reached an agreement." Bonenberger v. St. Louis Metro. Police Dep't,

 810 F.3d 1103, 1109 (8th Cir. 2016).



 B. Mr. Riddle Alleged Specific Facts Supporting a Conspiracy Between OPS and

 Law Enforcement



 The complaint sets forth detailed factual allegations supporting a plausible claim of

 conspiracy between OPS officials and law enforcement to violate Mr. Riddle's First

 Amendment rights, including:



 - OPS officials conspired with Officer Charles Otto, the head of OPS school resource

 officers, to conduct baseless investigations and home visits targeting Mr. Riddle and

 others who spoke out at board meetings (Compl. ,r,r 10, 15, 21);

 - Mr. Riddle alleges OPS reported his protected speech at board meetings to Officer

 Otto and the Omaha Police Department in an effort to instigate retaliatory actions

 (Id. ,r,r 15, 20);

 - Specific details from recorded conversations with Officer Otto reveal the officer's

 knowledge of Mr. Riddle's emails to OPS and the content of his speech, supporting




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 an inference that OPS unlawfully shared this information to trigger police

 harassment (Id. ,r,r 10, 15, 19-20); and

 - The temporal proximity between Mr. Riddle's protected speech, OPS's actions to

 bar that speech, and the ensuing police contacts supports an inference of

 coordinated action (Id. ,r,r 8-10, 15-16, 20-21).



 These factual allegations go beyond "[t]hreadbare recitals of the elements of a cause

 of action" and support a reasonable inference of a "meeting of the minds" between

 OPS and law enforcement to unlawfully interfere with Mr. Riddle's First

 Amendment rights. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The district court

 erred by dismissing these detailed allegations as merely conclusory.



 III. The District Court Failed to Construe Mr. Riddle's Pro Se Complaint Liberally



 As a pro se litigant, Mr. Riddle's complaint is "entitled to a liberal construction" and

 "must be viewed in the light most favorable to [him]." Solomon v. Petray, 795 F.3d

 777, 787 (8th Cir. 2015). This liberal standard is "less stringent" than that applied

 to formal pleadings drafted by lawyers. Erickson v. Pardus, 551 U.S. 89, 94 (2007)

 (per curiam). The district court failed to apply this liberal lens and instead

 subjected Mr. Riddle's complaint to heightened scrutiny based on his pro se status.




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 Throughout its opinion, the district court characterizes Mr. Riddle's extensive

 factual allegations as "conclusory," "threadbare," and lacking in "factual

 enhancement," while uncritically accepting OPS's blanket denials. Dist. Ct. Op. at

 6-10. It nitpicks isolated phrases from the complaint, divorced from context, rather

 than considering the complaint as a whole and drawing reasonable inferences in Mr.

 Riddle's favor. Id. This uncharitable treatment of a pro se pleading turns the

 12(b)(6) standard on its head.



 The court's failure to address Mr. Riddle's timely-filed "Notice of Continued and

 Ongoing Damage," which directly undermines the logic of the dismissal order, is

 even more troubling. This apparent disregard for critical record evidence, combined

 with the court's rigid piecemeal analysis of the complaint's factual allegations,

 reflects a larger predisposition to clear the docket rather than provide a fair hearing

 on the merits. Our system's promise of equal access to justice means little if prose

 complaints are picked apart and discarded while institutional defendants receive

 every benefit of the doubt.



 When properly viewed through the liberal lens afforded prose pleadings, drawing

 all reasonable inferences in his favor, Mr. Riddle's complaint states plausible claims

 for municipal liability and conspiracy under§ 1983. The district court's crabbed

 reading of his allegations and disregard for material evidence in the record require

 reversal.




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 IV. Enabling Judicial Review of Plausible Civil Rights Claims is Essential to

 Preserving First Amendment Freedoms



 The ability to petition the government and express dissenting viewpoints on

 matters of public concern "lies at the heart of the First Amendment." Lane v.

 Franks, 573 U.S. 228, 235-36 (2014). When, as here, state actors systematically

 deploy their power to suppress speech critical of their policies, the judiciary serves

 as the last line of defense for our most cherished constitutional freedoms. See Elrod

 v. Burns, 427 U.S. 347, 373 (1976) (plurality opinion) (loss of First Amendment

 freedoms "unquestionably constitutes irreparable injury").



 Dismissing plausible civil rights claims like Mr. Riddle's at the pleading stage,

 based on a skewed and uncharitable reading of the alleged facts, abdicates the

 courts' essential role in our constitutional system as a check on the abuse of

 government power. The district court's perfunctory rejection of Mr. Riddle's

 thorough and well-supported complaint as a mere "litany of labels and conclusions"

 is not just an affront to his individual rights, but a threat to the very lifeblood of

 "uninhibited, robust, and wide-open" debate the First Amendment exists to protect.

 N.Y. Times Co. v. Sullivan, 376 U.S. 254, 270 (1964).




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 Mr. Riddle's allegations paint a deeply troubling picture of concerted action by

 public officials to punish core political speech and insulate themselves from

 accountability. If allowed to stand, the district court's dismissal would give state

 actors carte blanche to strong-arm their critics and send an alarming message that

 the courthouse doors are closed to those who speak truth to power. Judicial review

 of plausible civil rights claims like this one is not an invitation to frivolous

 litigation, but an indispensable safeguard for our democracy. This Court should

 reverse and make clear that the First Amendment will not abide a shadow docket of

 reflexive dismissals.



 Iv. The District Court Abused Its Discretion and Violated Due Process By

 Dismissing For Failure To Plead A Legally Sufficient "Pattern" Without Defining

 That Requirement



 The district court committed reversible error by dismissing Riddle's substantive

 constitutional claims against OPS solely on the basis that his allegations

 purportedly failed to establish a plausible "pattern" of misconduct, without ever

 articulating a discernible legal standard for what factual circumstances satisfy this

 pleading requirement. This represented an abuse of discretion and denial of due

 process.



 A. Absence of Any Defined "Pattern" Standard Violates Fair Notice



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 "A plaintiff must be given fair notice of the grounds for the dismissal and an

 opportunity to address deficiencies in the complaint." Hutchison v. City of Phoenix,

 410 F.4d 979, 984 (9th Cir. 2005). Here, the court dismissed for lack of a "pattern"

 without providing any guidance on what quantum or type of proof meets this

 threshold, violating due process.



 Riddle alleged multiple, specific incidents from just the past few weeks where OPS

 engaged in viewpoint discrimination, retaliation against critics, and selectively

 enforced policies in an unconstitutional manner targeting him and at least one

 other individual. With no defined legal test for a "pattern," Riddle lacked

 constitutionally required fair notice of what his complaint was deficient in pleading.



 B. Failure to Define "Pattern" Deprived Riddle of Opportunity to Re-Plead



 In dismissing based solely on this nebulous conclusion about "pattern," with no

 articulation of what factual circumstances would satisfy that standard, the district

 court "abused its discretion by not allowing [Riddle] any opportunity to re-plead."

 Hutchison, 410 F.3d at 984.



 The evidence proffered of OPS's escalating campaign of suppressing Riddle's speech

 through multiple discriminatory acts over just weeks should constitute a sufficient



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 "pattern" under any reasonable interpretation. At minimum, basic due process

 required notifying Riddle of the specific deficiencies in his "pattern" allegations to

 allow re-pleading.



 C. The Vague "Pattern" Rationale Is An Unnavigable Barrier to Court Access



 By failing to cabin the vaguely-stated "pattern" requirement within any objective

 parameters, the district court effectively erected an unbounded barrier insulating

 government defendants from civil rights claims absent fortuitous circumstances.

 "[V]ague and ambiguous" standards that "prevent a party from knowing what is

 required for ... surviving a motion to dismiss" are impermissible. Seattle Times Co. v.

 Seattle, 327 F.4d 987, 998 (9th Cir. 2004).



 The amorphous "pattern" rationale allowed the court to dismiss potentially

 meritorious constitutional claims in a conclusory manner based on an unknown,

 subjective requirement. This unconstitutionally circumscribed Riddle's access to the

 courts to vindicate substantive rights. See Schmidt v. Herrigan, 614 F.2d 1159, 1163

 (9th Cir. 1980).



 For these reasons, the district court's unexplained dismissal citing lack of an

 adequately pled "pattern" - with no delineation whatsoever of that standard - was

 reversible error violating Riddle's due process rights to fair notice and opportunity



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 to respond. At minimum, he was entitled to specific guidance on what was deficient

 in his allegations to allow proper re-pleading consistent with Fed. R. Civ. P. B's

 liberal standard.



 VI. The District Court Judge Displayed Pervasive Bias and Misconduct Requiring

 Reassignment



 The record reflects that the district judge displayed an inability to review Mr.

 Riddle's pro se complaint objectively and impartially. The judge's dismissive

 characterization of Mr. Riddle's well-pled factual allegations, harsh repudiation of

 his claims without fairly considering the evidence, apparent disregard for the Notice

 of Continued Harm, and statements evidencing prejudgment such as asserting Mr.

 Riddle needed to "learn his lesson" and misrepresenting the number of his children

 by omitting the very child whose interests as an autistic student are most at stake

 in this case, cumulatively undermine confidence that the judge can approach this

 case with the required fresh and open perspective.



 The district court's ruling in this case is marred by a pervasive pattern of bias,

 selectivity, and disregard for critical evidence that raises serious doubts about the

 fairness and impartiality of the proceedings below. Throughout the opinion, the

 court employs dismissive and prejudicial language that minimizes the gravity of Mr.

 Riddle's claims and suggests a predisposition against his case. By describing Mr.



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 Riddle as having "learned his lesson" and characterizing his allegations as

 "conclusory and vague" without meaningful engagement with the factual record, the

 court reveals a lack of objectivity and a failure to afford due weight to the disturbing

 evidence of misconduct and retaliation by OPS officials.



 Moreover, the court's excessive emphasis on technical pleading standards for

 municipal liability, at the expense of substantive analysis of the troubling facts

 alleged, indicates a misguided prioritization of procedural formalities over the

 pursuit of justice. In fixating on whether Mr. Riddle's complaint satisfies precise

 legal thresholds, the court largely ignores or glosses over the specific, compelling

 evidence presented of viewpoint discrimination, intimidation, and abuse of power by

 OPS personnel. This selective treatment of the record suggests an undue deference

 to the institutional defendant and a corresponding disregard for the rights and

 interests of the individual plaintiff.



 The court's failure to properly contextualize the power dynamics between Mr.

 Riddle, a private citizen, and OPS, a government entity with vast resources and

 authority, further undermines the soundness and impartiality of its analysis. By

 equating Mr. Riddle's individual actions with the alleged systematic misconduct of a

 public school district, the court engages in a false equivalency that discounts the

 coercive impact of the power imbalance between the parties.




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 Perhaps most troublingly, the court's opinion fails to consider the profoundly

 chilling effect that its reasoning could have on the free speech rights of other OPS

 community members. By minimizing credible allegations of retaliation and erecting

 procedural roadblocks to municipal liability, the court sends a dangerous message

 that school districts may suppress dissent and criticism without robust legal

 consequence. This apparent disregard for core First Amendment protections is

 wholly incompatible with the judiciary's essential role in safeguarding individual

 rights against government overreach.



 Taken together, these deficiencies in the district court's analysis reflect a pervasive

 bias against Mr. Riddle's claims, an abdication of the court's duty to engage

 objectively with the full evidentiary record, and a deeply concerning lack of regard

 for the constitutional principles at stake in this case. The dismissive tone, selective

 emphasis on favorable defense evidence, insinuations about improper plaintiff

 motives, and elevation of procedural technicalities over substantive justice all point

 to a proceeding that was fundamentally tainted by partiality and insufficient rigor.

 Accordingly, this Court should reverse the decision below and remand for a full and

 fair adjudication of Mr. Riddle's claims, consistent with the paramount judicial

 obligations of impartiality, objectivity, and fidelity to the rule of law.



 Finally, in light of the serious concerns raised about the district court's handling of

 this case and apparent predisposition against providing Mr. Riddle a fair hearing,



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 Appellant respectfully requests that this Court exercise its supervisory authority

 and direct that this matter be reassigned to a new district judge on remand

 pursuant to 28 U.S.C. § 2106.



 When a judge's rulings, remarks, or actions create a reasonable appearance that

 impartiality may be compromised upon remand, reassignment to preserve the

 appearance of justice is appropriate. See, e.g., United States v. Martin, 865 F.3d

 1004, 1013 (8th Cir. 2017). Here, the totality of the circumstances - the judge's

 conclusory rejection of plausible claims, failure to address key evidence, and indicia

 of a predisposition towards dismissal - necessitate reassignment to protect Mr.

 Riddle's right to be heard by a truly impartial arbiter.



 Accordingly, if this Court reverses the judgment below, Appellant respectfully

 requests that this matter be remanded to a different district judge to ensure

 complete fairness and the appearance thereof in all further proceedings.



 CONCLUSION



 This Court has a solemn duty to safeguard constitutional rights and ensure equal

 access to justice, especially when those bulwarks are under attack by government

 actors. The district court's dismissal of Mr. Riddle's well-pled complaint alleging a

 systematic campaign to suppress his dissenting voice represents an abdication of




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 that foundational judicial responsibility. If allowed to stand, it will enable further

 erosion of First Amendment freedoms and insulate public institutions from

 accountability for retaliatory abuses of power.



 The rule of law demands more. Mr. Riddle has made a compelling case, supported

 by specific factual allegations and evidence, that Omaha Public Schools engaged in

 widespread viewpoint discrimination, censorship, intimidation tactics, and

 deprivations of due process - all to silence his criticism and advocacy. In cavalierly

 disregarding those troubling claims at the pleading stage, the court below turned a

 blind eye to the very rights it is entrusted to protect.



 This Court should not countenance such a dismissive repudiation of our core

 constitutional values. The dismissal must be reversed, and this matter remanded

 for a full and fair adjudication on the merits by an impartial arbiter. Only then can

 the guarantees of free expression and robust public discourse enshrined in our First

 Amendment retain their vital force. For if the courthouse doors are slammed shut to

 critics like Mr. Riddle, those sacred rights risk erosion into mere hollow promissory

 notes. Our republic and its founding ideals deserve better. This Court's rigorous

 enforcement of constitutional safeguards and access to justice is essential to

 ensuring they remain eternal verities.




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 For the foregoing reasons, Plaintiff-Appellant Justin Riddle respectfully requests

 that this Court reverse the judgment of the district court and remand this case for

 further proceedings .

    •
 Dated: April 2l 2024

 Respectfully submitted,

 Justin Riddle

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